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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
EAG:NS                                             271 Cadman Plaza East
F. #2019R00029                                     Brooklyn, New York 11201



                                                   July 12, 2019

By Hand and ECF

The Honorable Ann M. Donnelly
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Robert Sylvester Kelly
                      Criminal Docket No. 19-286 (S-1) (AMD) (E.D.N.Y.)

Dear Judge Donnelly:

               The government respectfully submits this letter in support of pretrial detention
of the defendant Robert Sylvester Kelly. For the reasons set forth herein, the Court should
order that the defendant be detained pending his removal to the Eastern District of New York
and trial because he cannot overcome the presumption that there is no combination of
conditions that would reasonably assure his continued appearance in this case or protect the
safety of the community were he to be released.

                As set forth below, the charges in this case are extremely serious: the
defendant is charged as the leader of a racketeering enterprise engaged in a pattern of
racketeering activity spanning two decades involving the sexual exploitation of children,
coercing and transporting women and girls to engage in illegal sexual activity, kidnapping
and forced labor. If convicted on all counts, the defendant faces the prospect of spending
decades in prison. Given the strength of the evidence in the case and the substantial prison
sentence that the defendant faces, the defendant poses a significant flight risk. As his past
interactions with the criminal justice system have failed to deter the defendant from
continuing to engage in serious criminal activity, the defendant is also a danger to the
community. Finally, as set forth below, the defendant’s release also presents a serious risk
that he will attempt to obstruct justice and threaten and intimidate potential witnesses.
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I.      Factual Background

        A.    The Eastern District of New York Indictment

                On July 10, 2019, a grand jury in the Eastern District of New York returned a
five-count superseding indictment (the “Indictment”) 1 charging the defendant with
racketeering, in violation of 18 U.S.C. §§ 1962(c) and 1963, involving eleven racketeering
acts (Count One); two counts of Mann Act transportation to engage in illegal sexual activity,
in violation of 18 U.S.C. § 2421(a) (Counts Two and Four), and two counts of Mann Act
coercion and enticement to engage in illegal sexual activity, in violation of 18 U.S.C.
§ 2422(a) (Counts Three and Five).

               As charged by the grand jury, for over two decades, the defendant was the
leader of a racketeering enterprise (the “Enterprise”) comprised of individuals who served as
managers, bodyguards, drivers, personal assistants and runners for the defendant, as well as
members of his entourage. Along with promoting the defendant’s music and the “R. Kelly”
brand, the Enterprise recruited women and girls to engage in illegal sexual activity with the
defendant, often transporting victims throughout the United States for this purpose. This
sexual activity was often filmed and photographed by the defendant, including sexually
explicit depictions of minors constituting child pornography.

               As alleged in the Indictment, the defendant promulgated numerous rules that
many of his sexual partners were required to follow, including that the women and girls were
to call him “Daddy;” they were not permitted to leave their rooms to eat or visit the bathroom
without receiving his permission; they were required to wear baggy clothing when not
accompanying Kelly to an event; and they were directed to keep their heads down and not to
look at other men. Kelly also isolated the women and girls from their friends and family, and
made them dependent on him for their financial well-being. The defendant also maintained
his leadership and control of the Enterprise by demanding absolute commitment from its
members, not tolerating dissent and obtaining sensitive information about members and
associates of the Enterprise in order to maintain control over them.

                The crimes charged in the Indictment took place throughout the United States,
including in New York, Connecticut, Illinois and California. The racketeering acts and
substantive crimes charged in the Indictment relate to five different victims, identified in the
Indictment as Jane Doe #1 through Jane Doe #5. Detailed below is a proffer of certain facts
related to the five identified victims. United States v. LaFontaine, 210 F.3d 125, 130-31
(2d Cir. 2000) (government entitled to proceed by proffer in detention hearings).




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             The grand jury returned the original indictment on June 20, 2019. The
Indictment adds a criminal forfeiture allegation to the original indictment.


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              1.     Jane Doe #1

               The defendant met Jane Doe #1 in or about 1999, when she was 16 years old,
after another member of the Enterprise approached her at a fast food restaurant and informed
her the defendant wished to speak with her. Thereafter, while Jane Doe #1 was a minor
under 18 years old, the defendant filmed their sexual intercourse on multiple occasions,
thereby creating child pornography, using materials that had been mailed, shipped and
transported in interstate and foreign commerce.

              2.     Jane Doe #2

                In or about and between 2003 and 2004, Jane Doe #2 met Kelly at a mall
outside the state of Illinois when she was in her early 20s and working as a radio station
intern. The defendant thereafter invited Jane Doe #2 to travel to Chicago, Illinois
purportedly to conduct an interview of him. Following her arrival in Chicago, Jane Doe #2
was directed to a recording studio. Once there, she was escorted to a bedroom within the
studio by one of the defendant’s associates, who also took and searched her suitcase. Later,
while in the room, another associate made a copy of Jane Doe #2’s driver’s license, directed
her to sign what she believed to be a nondisclosure agreement, and advised her not to talk to
anyone and to keep her head down. Jane Doe #2 ultimately spent approximately three days
in the bedroom, which was locked, without sustenance. After a member of the Enterprise
provided her with food and a drink, she became tired and dizzy. She woke up some time
thereafter to the defendant with her in the bedroom in circumstances that made clear he had
sexually assaulted her while she was unconscious.

              3.     Jane Doe #3

                In or about May 2009, when Jane Doe #3 was 16 years old and the defendant
was in his early 40s, the defendant began a sexual relationship with Jane Doe #3 in violation
of Illinois law, which ultimately lasted for a period of months. During this time period, on
multiple occasions, the defendant produced sexually explicit photographs and videos of Jane
Doe #3 engaging in sexual intercourse and sexual contact with the defendant and others at
his direction.

               In the course of their relationship, the defendant also engaged in a scheme,
plan and pattern intended to cause Jane Doe #3 to believe that, if she did not perform certain
sexual acts on him and others at his direction, she or her family members would suffer
serious harm. The defendant engaged in a pattern of both physical and psychological abuse
when Jane Doe #3 disobeyed his sexual directives, including slapping, choking, and isolating
her in rooms for days at a time with no access to food, which caused Jane Doe #3 to believe
such punishments would occur if she did not acquiesce and perform sexual acts she did not
want to perform. In addition, the defendant caused Jane Doe #3 to write and sign letters and
other documents containing false information that, if released, could cause reputational harm
to both her and her close family members as an additional means to exert control over her.




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              4.     Jane Doe #4

               In or about 2015, Jane Doe #4, a minor and aspiring music artist, met the
defendant after attending one of his concerts. Thereafter, at the defendant’s suggestion, Jane
Doe #4 began travelling on a consistent basis with the defendant while he was on tour, at the
defendant’s direction, purportedly to learn about the music business, including to various
locations in Connecticut and California while Jane Doe #4 was under 18 years old. In July
2015, while Jane Doe #4 was a minor, the defendant persuaded, induced and coerced her to
travel to Connecticut to engage in sexual activity with the defendant, in violation of
Connecticut law. In October 2015, while Jane Doe #4 was a minor, he persuaded, induced
and coerced Jane Doe #4 to travel to California to engage in sexual activity with the
defendant, in violation of California law.

              5.     Jane Doe #5

               Jane Doe #5 met the defendant following an R. Kelly concert that she attended
when she was 19 years old, at which time the defendant provided Jane Doe #5 with his phone
number. Thereafter the two communicated by telephone. In May 2017, the defendant
directed Jane Doe #5 to contact an assistant to arrange for travel to and accommodations in
New York to attend an R. Kelly concert in Long Island, New York. Following the concert,
Jane Doe #5 returned to her hotel room. In the early morning hours, the defendant
unexpectedly arrived at Jane Doe #5’s room and loudly announced his presence. Ultimately,
at the defendant’s direction, the encounter became sexual in nature and the two engaged in
intercourse. The defendant did not use a condom. Prior to the intercourse, the defendant did
not divulge to Jane Doe #5 that he had contracted an infectious venereal disease, in violation
of New York law. Notably, during the encounter in the hotel room, the defendant told Jane
Doe #5, in sum and substance, that if she was really 15 or 16 years old, she could tell him,
suggesting he would have preferred for Jane Doe #5 to be younger.

                Thereafter, the defendant arranged for Jane Doe #5 to travel to various
locations throughout the United States to see him, including in January 2018 to Los Angeles,
California. During this trip, Jane Doe #5 went to a recording studio in Los Angeles to see the
defendant. Once at the studio, Jane Doe #5 waited for many hours in a room, without
sustenance, for the defendant to arrive. After briefly seeing him, the defendant did not show
up again until the following day. After he arrived the following day, the defendant took Jane
Doe #5 into a smaller area/room and instructed Jane Doe #5 to take off her clothing. Jane
Doe #5 noticed a gun in the room, which the defendant moved to a piece of furniture nearby.
He then proceeded to ask Jane Doe #5 a series of questions, warning her there would be
consequences if she lied. Given the surrounding circumstances, Jane Doe #5 believed she
was not free to leave the room. Thereafter, the defendant directed Jane Doe #5 to give him
oral sex in the room. (When agents executed a search warrant at the defendant’s residence
on July 11, 2019, they found a holster and ammunition.)

             The defendant arranged for Jane Doe #5 to travel a final time to see him in
February 2018 in New York City. While in New York, the defendant engaged in sexual


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activity with Jane Doe #5, again without divulging to her that he had contracted an infectious
venereal disease, in violation of New York law. Jane Doe #5 stopped seeing the defendant
following this trip and ultimately learned that she had contracted an infectious venereal
disease during the course of her relationship with the defendant. Medical records confirm
that the defendant had an infectious venereal disease during the course of his sexual activity
with Jane Doe #5.

         B.    The Northern District of Illinois Indictment

                On July 11, 2019, a grand jury in the Northern District of Illinois (“NDIL”)
returned a 13-count indictment charging the defendant with producing and receiving child
pornography, and enticing minors to engage in criminal sexual activity. The charges involve
the defendant engaging in sex acts with five minors in the late 1990s and early 2000s (all of
whom are different from the Jane Doe victims identified in the Indictment) and recording
some of the abuse on multiple videos. As a result, the defendant has been charged with
federal crimes involving a total of ten victims in two indictments. The NDIL indictment also
charges the defendant with conspiring to intimidate victims and conceal evidence in an effort
to obstruct law enforcement, including with respect to an investigation in the 2000s that
resulted in the defendant’s 2008 trial in Cook County, Illinois on state child pornography
charges, of which he was acquitted. Specifically, the NDIL indictment charges that, in 2001,
the defendant and another individual began paying an acquaintance hundreds of thousands of
dollars to collect the videos of child pornography for the purpose of concealing and covering
up their existence. When the acquaintance later planned to hold a news conference to
publicly announce that he had recovered the videos, the defendant and others paid him
approximately $170,000 in exchange for agreeing to cancel the event. The defendant and
another individual also agreed to pay one of the minors and another person for their efforts to
return the videos, but only after they took polygraph examinations to confirm that they had
returned all copies in their possession.

II.      Argument

         A.    Applicable Law

               1.     The Bail Reform Act

               Under the Bail Reform Act, 18 U.S.C. § 3141, et seq., federal courts are
empowered to order a defendant’s detention pending trial upon a determination that the
defendant is either a danger to the community or a risk of flight. See 18 U.S.C. § 3142(e). A
finding of dangerousness must be supported by clear and convincing evidence. See United
States v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995); United States v. Chimurenga, 760 F.2d
400, 405 (2d Cir. 1985). A finding of risk of flight must be supported by a preponderance of
the evidence. See United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987); Chimurenga, 760
F.2d at 405. In addition, a court may order detention if there is “a serious risk that the
[defendant] will . . . attempt to obstruct justice, or . . . threaten, injure, or intimidate, a
prospective witness or juror.” 18 U.S.C. § 3142(f)(2)(B). A finding of a risk of obstruction
of justice must be supported by a preponderance of the evidence. United States v. Madoff,

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586 F. Supp. 2d 240, 247 (S.D.N.Y. 2009) (preponderance of evidence standard applies to
determination of both risk of flight and risk of obstruction of justice).

                The Bail Reform Act lists four factors a court should consider in the detention
analysis: (1) the nature and circumstances of the crimes charged, (2) the history and
characteristics of the defendant, including the defendant’s “character . . . [and] financial
resources,” (3) the seriousness of the danger posed by the defendant’s release and (4) the
evidence of the defendant’s guilt. See 18 U.S.C. § 3142(g). Evidentiary rules do not apply
at detention hearings and the government is entitled to present evidence by way of proffer,
among other means. See 18 U.S.C. § 3142(f)(2); see also United States v. LaFontaine, 210
F.3d 125, 130-31 (2d Cir. 2000) (government entitled to proceed by proffer in detention
hearings); Ferranti, 66 F.3d at 542 (same); United States v. Martir, 782 F.2d 1141, 1145 (2d
Cir. 1986) (same). As the Second Circuit has explained:

              [I]n the pre-trial context, few detention hearings involve live
              testimony or cross examination. Most proceed on proffers. See
              United States v. LaFontaine, 210 F.3d 125, 131 (2d Cir. 2000).
              This is because bail hearings are “typically informal affairs, not
              substitutes for trial or discovery.” United States v. Acevedo-
              Ramos, 755 F.2d 203, 206 (1st Cir. 1985) (Breyer, J.) (quoted
              approvingly in LaFontaine, 210 F.3d at 131). Indeed,
              § 3142(f)(2)(B) expressly states that the Federal Rules of
              Evidence do not apply at bail hearings; thus, courts often base
              detention decisions on hearsay evidence. Id.

United States v. Abuhamra, 389 F.3d 309, 320 n.7 (2d Cir. 2004).

               Where a judicial officer concludes after a hearing that “no condition or
combination of conditions will reasonably assure the appearance of the person as required
and the safety of any other person and the community, such judicial officer shall order the
detention of the person before trial.” 18 U.S.C. § 3142(e)(1). Additionally, where, as here,
there is probable cause to believe that the defendant committed offenses involving minor
victims under 18 U.S.C. §§ 2242, 2251, and 2423, 2 it shall be presumed, subject to rebuttal,
that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and the safety of the community. 18 U.S.C. § 3142(e)(3)(E). Indeed,
“the presence of an indictment returned by a duly constituted grand jury conclusively
establishes the existence of probable cause for the purpose of triggering the rebuttable
presumptions set forth in § 3142(e).” United States v. Contreras, 776 F.2d 51, 55
(2d Cir. 1985).

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               See, e.g., Racketeering Acts One, Four, Six, Seven, and Eight of Count One of
the Indictment. See United States v. Marino, 731 F. Supp. 2d 323, 326 (S.D.N.Y. 2010)
(predicate acts alleged as part of a pattern of racketeering activity can trigger rebuttable
presumption of dangerousness to community).


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              2.     Elaborate Bail Packages Are Insufficient to Protect the Community
                     Against Dangerous Defendants

               The Second Circuit repeatedly has rejected “elaborate” bail packages for
dangerous defendants. See Ferranti, 66 F.3d at 543-44 (rejecting $1 million bail package
secured by real property); United States v. Orena, 986 F.2d 628, 630-33 (2d Cir. 1993)
(rejecting $3 million bail package secured with real property, home detention, restricted
visitation and telephone calls, and electronic monitoring); United States v. Colombo, 777
F.2d 96, 97, 100 (2d Cir. 1985) (rejecting $500,000 bail package secured by real property).
The Second Circuit has viewed home detention and electronic monitoring as insufficient to
protect the community against dangerous individuals. In United States v. Millan, the Second
Circuit held that:

              Home detention and electronic monitoring at best elaborately
              replicate a detention facility without the confidence of security
              such a facility instills. If the government does not provide staff
              to monitor compliance extensively, protection of the community
              would be left largely to the word of [the defendants] that [they]
              will obey the conditions.

4 F.3d 1039, 1048-49 (2d Cir. 1993) (citations and internal quotations omitted). See also
Orena, 986 F.2d at 632 (“electronic surveillance systems can be circumvented by the
wonders of science and of sophisticated electronic technology”) (internal quotation marks
and citations omitted).

               Similarly, courts in the Eastern District of New York have denied dangerous
defendants bail in recognition of the Second Circuit’s dim view of the effectiveness of home
detention and electronic monitoring. See, e.g., United States v. Cantarella, 2002 WL
31946862, at *3-4 (E.D.N.Y. 2002) (Garaufis, J.) (adopting “principle” of “den[ying] bail to
‘dangerous’ defendants despite the availability of home detention and electronic surveillance
and notwithstanding the value of a defendant’s proposed bail package”); United States v.
Agnello, 101 F. Supp. 2d 108, 116 (E.D.N.Y. 2000) (Gershon, J.) (“[T]he protection of the
community provided by the proposed home detention remains inferior to that provided by
confinement in a detention facility[.]”); United States v. Masotto, 811 F. Supp. 878, 884
(E.D.N.Y. 1993) (rejecting bail because “the Second Circuit appears to be saying to us that in
the case of ‘dangerous defendants’ the Bail Reform Act does not contemplate the type of
conditions suggested by this Court [including home confinement and electronic monitoring]
and that, even if it did, the conditions would not protect the public or the community, given
the ease with which many of them may be circumvented”).

III.   Discussion

             As set forth below, each of the § 3142(g) factors demonstrates (1) by clear and
convincing evidence that the defendant is a danger to the community; and (2) by a
preponderance of the evidence that the defendant’s release poses a both a risk of flight and a



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risk of obstruction of justice. The defendant cannot overcome the statutory presumption in
favor of detention in this case and should be detained pending trial.

       A.      The Nature and Circumstances of the Charged Crimes

                 As set forth above, the defendant is charged with serious crimes, including
leading a racketeering enterprise that he created and used for decades to sexually abuse and
exploit women and girls for his own sexual gratification, including through the use of
kidnapping and forced labor. The pattern of racketeering activity charged includes the
defendant’s commission of 11 predicate acts against five different victims over two decades.
Moreover, his status as the leader of the Enterprise cannot be overstated and accentuates the
already serious nature of the criminal conduct at issue. The Enterprise and the defendant’s
status within it allowed the defendant to serially engage in criminal conduct with impunity,
including against minor victims. See 18 U.S.C. § 3142(g)(1) (enumerating “whether the
offense . . . involves a minor victim” as a factor in bail applications).

               The seriousness of the charged crimes (and the attendant risk of flight) 3 is also
reflected in the penalties the defendant faces, which include up to 20 years’ imprisonment on
Count One, up to 20 years’ imprisonment on each of Counts Three and Five, and ten years’
imprisonment on each of Counts Two and Four.

       B.      The History and Characteristics of the Defendant and Seriousness of the
               Danger Posed by the Defendant’s Release, and the Risk of Obstruction of
               Justice

               While the defendant has no criminal convictions, he has been charged with
sexual offenses involving children in the past and is currently charged in Cook County,
Illinois with various offenses involving sexual misconduct. Moreover, as alleged in the
NDIL indictment, the defendant’s acquittal on state charges involving child exploitation in
2008 may well have been the result of his own obstructive conduct, which included
persuading multiple individuals to testify falsely before a Cook County grand jury.
Emboldened by his fame and the lack of any real consequences for his conduct for so long,
the defendant repeatedly and flagrantly used his resources and the Enterprise at his disposal
to continue committing serious crimes involving both minor and adult victims.
               In addition, as set forth above, the defendant’s conduct with respect to several
of the Jane Doe victims demonstrates a willingness to intimidate potential witnesses to avoid
criminal liability. For example, the defendant caused Jane Doe #3 to write and sign
documents containing false information that, if released, could cause reputational harm to
both her and her family members. Similarly, following a civil lawsuit filed on behalf of Jane
Doe #5 against the defendant, a lawyer for Jane Doe #5 received a typewritten letter in 2018

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               See United States v. Dodge, 846 F. Supp. 181, 184-85 (D. Conn. 1994)
(finding the possibility of a “severe sentence” heightens the risk of flight).


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purportedly signed by the defendant. Enclosed with the letter were two pieces of paper that
contained images and typewritten text. Among the images were photographs of Jane Doe #5
that had been apparently cropped to not disclose certain body parts. Beneath those photos
was text including “I assure you this would not be considered a Sunday go-to-meeting dress.
The next two pictures have been cropped for the sake of not exposing her extremities to the
world, yet!!!” Based on the content of the letter and photographs, it is reasonable to
conclude that the letter was sent at the defendant’s direction, advising Jane Doe #5 of his
intent to maintain compromising photographs of her in an attempt to convince Jane Doe #5
to abandon her lawsuit. This type of conduct is strong evidence that the defendant, or
members of his Enterprise, is likely to attempt witness tampering or other obstructive
conduct if released, a factor which is also relevant to an assessment of the seriousness of the
danger posed by the defendant’s release.
       C.     The Strength of the Evidence

                 The evidence of the defendant’s guilt of the crimes charged in the Indictment
is strong. The government will prove the charged crimes at trial through, among other
evidence, the testimony of victims and other witnesses, including insider-witnesses
previously employed by the Enterprise, medical records, phone records, text messages, cell
site records, photographs, and other documentary evidence. Moreover, the witness testimony
at trial will reveal a distinctive pattern and modus operandi, including from witnesses
victimized by the defendant at different times who do not know each other, further
buttressing the strength of the evidence against the defendant. The government’s evidence is
therefore exceedingly strong and clearly favors detention.

IV.    Conclusion

             For the foregoing reasons, the government respectfully submits that the
defendant should be detained pending his removal to the Eastern District of New York and
trial.



                                                   Respectfully submitted,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney
                                                   Eastern District of New York

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